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EXHIBIT J
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Brenner, Wendy

From: Brenner, Wendy

Sent: Thursday, August 05, 2010 1:21 PM

To: ‘Larry Paradis’

Ce: bmaschler@gordonrees.com; Stephanie Enyart; John Simon

Subject: RE: FW: Accommodations on upcoming MPRE exam for Stephanie Enyart

Larry ~ Please tell your IT person to call Derek Binkley at the NCBE. He is at ext. 3033. The main # is 608-280-8550.

Wendy Brenner

Cooley LLP

3175 Hanover Street

Palo Alto, CA 94304-1130

Direct: (650) 843-5371 * Fax: (650) 849-7400

From: Larry Paradis [mailto:larryp@dralegal.org]

Sent: Thursday, August 05, 2010 12:52 PM

To: Brenner, Wendy

Cc: bmaschler@gordonrees.com; Stephanie Enyart; John Simon

Subject: RE: FW: Accommodations on upcoming MPRE exam for Stephanie Enyart

Dear Wendy, could you have NCBE's IT person call our IT person - John Simon - at 510-665-8644? | understand the
technical difficulty is still a problem and that it was not solved this morning. | think the two IT people may be able to fix it if
they talk to each other and to Janet at ACT today. Sincerely, Larry Paradis

From: Brenner, Wendy [mailto:BRENNERWJ@cooley.com]

Sent: Tuesday, August 03, 2010 3:38 PM

To: Larry Paradis

Subject: FW: FW: Accommodations on upcoming MPRE exam for Stephanie Enyart
Importance: High

Larry ~ | have confirmed that the NCBE’s IT person is on standby, and ready to help ACT as necessary.

Wendy Brenner

Cooley LLP

3175 Hanover Street

Palo Alico, CA 94304-1130

Direct: (650) 843-5371 ° Fax: (650) 849-7400

From: Larry Paradis [mailto:larryp@dralegal.org]

Sent: Monday, August 02, 2010 4:13 PM

To: Tenhoff, Gregory

Subject: FW: FW: Accommodations on upcoming MPRE exam for Stephanie Enyart
Importance: High

Dear Greg, please see email communications below. Can you confirm with NCBE that it will have its IT
personnel available on Wed, Thurs and Friday, and provide the administrative privilege password if that is
needed? Thanks, Larry
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From: Brian Maschler [mailto:BMaschler@gordonrees.com]

Sent: Monday, August 02, 2010 3:47 PM

To: Larry Paradis

Subject: FW: FW: Accommodations on upcoming MPRE exam for Stephanie Enyart
Larry,

| have been authorized to forward to you the email from ACT below. Could you please advise NCBE/its counsel
accordingly?

Thank you.

-Brian

From: Michael.Clifton@act.org [mailto:Michael.Clifton@act.org]

Sent: Monday, August 02, 2010 3:38 PM

To: Brian Maschler

Cc: Michael Bruno

Subject: Re: FW: Accommodations on upcoming MPRE exam for Stephanie Enyart

Brian,

It is my understanding that the laptop is in San Francisco with the Test Center Supervisor (who is not an ACT
employee) or possibly still en route. ACT's employee will be arriving in San Francisco on Tuesday and meeting
with the Test Center Supervisor on Wednesday. The Test Center Supervisor should have the laptop with her
then.

NCBE provided ACT the laptop with the applications already installed. Because NCBE is the owner of the laptop
and the ones who installed the applications on it, they should have the administration privilege password and are
best positioned to troubleshoot/install/deinstall programs. In fact, they have provided us with their 1T contact for
technical issues. We will instruct our on site employee to call that person on Wednesday and follow their
instructions. It will be important for NCBE to make someone available for that purpose on Wednesday,
Thursday, and Friday.

Mike
“Brian Maschler" <BMaschler@gordonrees.com> To <Michael.Clifton@act.org>
cc "Michael Bruno” <MBruno@gordonrees.com>
08/02/2010 03:26 PM Subject FW: Accommodations on upcoming MPRE exam for Stephanie Enyart
Michael,

We just received the below from Ms. Enyart's counsel.

-Brian

From: Larry Paradis [mailto:larryp@dralegal.org]
Sent: Monday, August 02, 2010 1:00 PM
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To: Brian Maschler

Ce: Tenhoff, Gregory

Subject: Accommodations on upcoming MPRE exam for Stephanie Enyart
Importance: High

Dear Brian,

\'d like to request your assistance in the set up for Ms. Enyart's upcoming MPRE exam. Ms. Enyart just
completed the MBE exam using a laptop provided by NCBE, and encountered technical difficulties again. The
particular problems she encountered were different than those she encountered during the previous test
administration. This time, the problem concerned a lack of synchronization between the JAWS and ZoomText
software programs. As a result, there were difficulties wherein the cursor on the ZoomText screen was not
matching up to the material being read out loud by the JAWS program. The problem was identifed during the set
up during the day before the MBE began. The problem was intermittent in that when Ms. Enyart first inputted the
settings on the programs the two programs would work properly together for awhile, but then after a period of time
they would stop coordinating. We tried to resolve the problem using our technical support person at DRA, but
were not able to fix it. One possible reason for the problem was that the laptop apparantly had an antivirus
program ("McAffey") which had not been renewed. Our technical support person thought that deleting the
antivirus program might help, but we were unable to do so because Ms. Enyart and no one at the test site had
"administrative privileges" to alter any of the programs on the laptop. Ultimately, Ms. Enyart found some ways to
minimize the problem but was not able to get the two software programs working consistently together throughout
the test.

We would like to minimize the chances of this or other technical problems occuring on the upcoming MPRE exam.
We understand that the ACT will be installing the two software programs this Tuesday or Wed.

Could you ask the ACT personnel to make sure when installing the programs that there is no expired antivirus
software on the laptop - i.e. that if there is antivirus software that has expired that it be updated or deleted? Also,
could you ask them to confirm that the operating system being used is Windows XP, and ask that they check as
fully as possible that the JAWS and ZoomText programs are in fact working together properly and that the cursor
sychronizes with the JAWS program as a user moves around within the text and stays sychronized for at least 30
minutes of testing?

Also, in case there are problems that Ms. Enyart encounters during her set up and testing of the equiptment on
Thursday August 5 could you ask the ACT personnel to be sure they have "administrative privileges" vis a vie the
laptop, so that problems if they arise can be fixed?

By cc to Greg, | am asking that NCBE allow such privileges to the ACT personnel.

Finally, once the equiptment set up is complete and the programs tested the day before the exam, could we
ensure that the equiptment is left on so that whatever settings Ms. Enyart has inputted remain in effect for the test
day? t took Ms. Enyart several hours to find settings that minimized the problems with the technology on the set
up for the MBE, and it seems that aliowing the equiptment to stay on will minimize any further problems that might
occur on the test administration day. If the laptop goes into hibernate or sleep mode that is better than having it
be shut down.

Thank you for your attention to this matter.
Sincerely, Larry Paradis

From: Larry Paradis

Sent: Monday, July 12, 2010 4:11 PM
To: bmaschler@gordonrees.com

Cc: 'Tenhoff, Gregory’
Subject: Accommodations on upcoming MPRE exam for Stephanie Enyart

Dear Brian,
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As you may know, Ms. Enyart will need to take the MPRE again. It is scheduled to be held on August 6, 2010.
The Federal Court has issued a second preliminary injunction requiring that NCBE provide the exam to Ms.
Enyart on a laptop computer equipped with the JAWS and ZoomText programs. The one difference this time that
concerns ACT is that the Court directed that Ms. Enyart be allowed to set up and test the equipment, including the
NCBE laptop, on the day before the MPRE begins. We actually arranged this to occur the last time with your help
on a voluntary basis, and we are hoping this will not pose any difficulties this time around. Last time, Ms. Enyart
took the MPRE on the east coast and was able to arrange with the University where the test was given to have
the testing room made available for the setup the day before and to ensure that the room was secured overnight
since Ms. Enyart was to supply the monitor and other peripheral equipment for the exam, as well as various items
such as a special lamp, and it is important that this equipment be kept secure.

This time, Ms. Enyart will be taking the exam on the West Coast. She has requested that the exam be held in
Oakland as her first choice, and Alameda as her second choice. Could you check with ACT to find out which
location the exam will be administered at, and to confirm that the testing room and NCBE laptop will be made
available on Thursday August 5 - the day before the exam begins? Ms. Enyart would prefer to schedule the setup
and testing for the morning of Thursday Aug. 5. Can you check on whether the morning time will work? Could
you also confirm that the room will be secured from the time of the setup and overnight? Will NCBE be sending
its own representative to maintain security of the laptop, or will an ACT employee be supervising the NCBE laptop
once it arrives?

Also, part of the set up and testing will be to check that the laptop provided by NCBE allows for the questions to
be displayed in 14 point Ariel font. In case there are any technical glitches, Ms. Enyart will need access to a
phone to call our technical support person during the setup and testing of the equipment. Can Ms. Enyart bring
her cell phone into the exam room during the equipment setup and testing on August 5? If not, could you confirm
that there will be someone present during the set up and testing of the equipment that has a cell phone Ms.
Enyart can use in case she needs help from our technical support person?

Ms. Enyart also found it helpful during the last administration of the MPRE to have the contact information for the
person who would be supervising the setup and testing process the day before the exam, so that they could touch
base ahead of time and coordinate on when and where they would be meeting for the setup process. Could you
facilitate that arrangement this time as well by passing along to me the name and phone number of the person
who will be overseeing the setup process so that Ms. Enyart can contact him or her?

For your information, | am attaching a copy of the second preliminary injunction that the court issued.

Finally, Ms. Enyart informs me that last time there was some confusion regarding delivery of a letter from ACT to
Ms. Enyart regarding her accommodations. Apparently, ACT tends to send its final letter confirming the
accommodations during the week before the MPRE is given. However, because Ms. Enyart is taking the
California Bar Exam during that week before the MPRE, she will not be home to receive such a letter. Could you
check with ACT to see if it can get such a letter delivered on or before July 24, since that is the last day before
Ms. Enyart moves to Burlingame to take the California Bar Exam? Alternatively, the letter could be directed to
me.

Thank you for your cooperation in this matter.

Sincerely,
Larry Paradis

ry x

San Francisco * San Diego * Los Angeles * Sacra nento * Orange County “ Las Ve gas * Portland * Seattie * Houston * Chicago * Phoenix “ Dallas
ad” Florham: Park * Denver” Miami

IRS CIRC
To ensure compllance wilh requirements by the IRS, we Inform yo but that any LS. tax advice contained in this communication (including any

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